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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA               )
                                        )
              v.                        )      1:12-cr-00160-JAW
                                        )
 MALCOLM A. FRENCH, et al.              )


                   ORDER DENYING MOTION FOR NEW TRIAL

       On January 24, 2014, at the end of a three-week trial, a jury convicted three

 individual defendants and one corporate defendant of a series of federal crimes

 generally related to their participation in a conspiracy to manufacture marijuana.

 Over two years later on April 28, 2016, they returned to Court to request a new trial,

 claiming that during jury voir dire on January 8, 2014, a juror failed to respond

 truthfully to her juror questionnaire and to a material voir dire question.       The

 Defendants assert that had the juror responded truthfully during voir dire, it would

 have provided a valid basis for a challenge for cause, and they request that the Court

 hold an evidentiary hearing to question the juror. Having reviewed the questionnaire

 and the voir dire transcripts, and having considered the risks from questioning the

 juror, the Court rejects the request for an evidentiary hearing to question the juror.

 The Court denies the Defendants’ motion for new trial.

 I.    BACKGROUND

       A.     Procedural History

              1.    Indictment, Trial, and Verdict
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       On September 14, 2012, a federal grand jury indicted Malcolm French, Rodney

 Russell, Kendall Chase, and Haynes Timberland, Inc., for a number of federal crimes

 relating in general to their alleged involvement with a marijuana growing operation

 in Maine.1 Indictment (ECF No. 2). On November 13, 2013, a grand jury issued a

 superseding indictment. Superseding Indictment (ECF No. 187). On January 8,

 2014, United States Magistrate Judge Margaret J. Kravchuk presided over jury

 selection, and a jury trial began immediately after selection. Minute Entry (ECF No.

 281). The trial took place from January 8, 2014, through January 24, 2014. Minute

 Entry (ECF No. 308).

       On January 24, 2014, the jury returned verdicts finding Malcolm French,

 Rodney Russell, and Kendall Chase guilty of engaging in a conspiracy to manufacture

 marijuana; finding Malcolm French and Rodney Russell guilty of manufacturing

 marijuana; finding Malcolm French, Rodney Russell, and Haynes Timberland, Inc.,

 guilty of managing or controlling a drug-involved premises; finding Malcolm French

 and Rodney Russell guilty of harboring illegal aliens; and finding Malcolm French,

 Rodney Russell, and Kendall Chase guilty of engaging in a conspiracy to distribute

 marijuana. Jury Verdict Form (ECF No. 311).

              2.      Motion for New Trial

       On April 28, 2016, Malcolm French filed a motion for a new trial. Def. Malcolm

 French’s Mot. for New Trial Pursuant to F.R. Crim. P. 33 (ECF No. 674). Mr. French

 also filed a motion for enlargement of time, requesting an additional twenty-one days



 1     Other Defendants were also indicted but are not relevant to the pending motion.

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 to file supporting memoranda and documentation in support of his motion for a new

 trial. Def.’s Mot. for Enlargement of Time to File Supp. Mem. and Documentation

 (ECF No. 675). Kendall Chase joined Mr. French’s motions on May 2, 2016. Def.

 Kendall Chase’s Mot. to Join Def. Malcolm French’s Mot. for New Trial and Mot. to

 Extend Time to File Supp. Mem. (ECF No. 678).          Rodney Russell and Haynes

 Timberland, Inc., joined the motions shortly thereafter on May 8 and May 16,

 respectively. Def. Rodney Russell’s Mot. to Join Def. Malcom French’s Mot. for New

 Trial and Mot. to Extend Time to File Supp. Mem. (ECF No. 682); Def. Haynes

 Timberland, Inc.’s Joinder in Def. Malcolm French’s Mot. for New Trial and Mot. to

 Extend Time to File Supp. Mem. (ECF No. 683).

       On May 19, 2016, Mr. French filed a supplemental memorandum in support of

 his motion for a new trial. Sealed Suppl. Mem. in Supp. of Def. Malcolm French’s

 Mot. for New Trial Pursuant to F.R. Crim. P. 33 (ECF No. 685) (French Mem.). Mr.

 Chase, Mr. Russell, and Haynes Timberland, Inc., all subsequently joined Mr.

 French’s supplemental memorandum.         Def. Kendall Chase’s Mot. to Join Def.

 Malcolm French’s Suppl. Mem. in Supp. of Mot. for New Trial Pursuant to F.R. Crim.

 P. 33 (ECF No. 686); Def. Rodney Russell’s Mot. to Join Def. Malcolm French’s Suppl.

 Mem. in Supp. of Mot. for New Trial Pursuant to F.R. Crim. P. 33 (ECF No. 690); Def.

 Haynes Timberland, Inc.’s Joinder in Def. Malcolm French’s Sealed Suppl. Mem. in

 Supp. of Mot. for New Trial Pursuant to Fed. R. Crim. P. 33 (ECF No. 694).

       The Government filed an objection to the Defendants’ motion for a new trial on

 May 27, 2016. Gov’t’s Sealed Obj. to Defs.’ Mot. for New Trial (ECF No. 695) (Gov’t’s



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 Obj.). On June 14, 2016, Mr. French filed a reply to the Government’s objection. Def.

 Malcolm French’s Resp. to Gov’t’s Sealed Obj. to Def.’s Mot. for New Trial Pursuant to

 F.R. Crim. P. 33 (ECF No. 702) (French Reply). Within the following week, Mr. Chase,

 Haynes Timberland, Inc., and Mr. Russell joined Mr. French’s reply. Def. Kendall

 Chase’s Mot. to Join Def. Malcolm French’s Resp. to Gov’t’s Mot. for New Trial

 Pursuant to F.R. Crim. P. 33 (ECF No. 703); Def. Haynes Timberland, Inc.’s Joinder

 in Def. Malcolm French’s Reply to Gov’t’s Obj. to Motion for New Trial Pursuant to

 F.R. Crim. P. 33 (ECF No. 704); Def. Rodney Russell’s Joinder in Def. Malcolm

 French’s Reply to Gov’t’s Obj. to Mot. for New Trial Pursuant to F.R. Crim. P. 33 (ECF

 No. 706).

       B.     The Factual Backdrop

       Before voir dire in the Defendants’ case, the Court provided the potential

 jurors, including Juror 86, with a two-page juror questionnaire. French Mem. Attach

 2, Juror Questionnaire (ECF No. 685) (Juror Questionnaire). Question 3 appeared on

 the first page of the questionnaire. Id. at 1. It requested information regarding court

 matters that involved the juror or the juror’s close family:

       3.     a) Please describe briefly any court matter in which you or a close
              family member were involved as a plaintiff, defendant, witness,
              complaining witness or a victim.
              b) Was the outcome satisfactory to you?
              c) If no, please explain.

 Id. In the space provided for Question 3(a), Juror 86 wrote “n/a.” Id. She left the

 spaces next to (b) and (c) blank and completed the remainder of the questions on the

 first page. Id.



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       The second page of the questionnaire contained six additional questions and a

 signature block. Id. at 2. Over the signature block, the following language appeared:

           I declare under penalty of perjury that I have answered all the
           foregoing questions truthfully and completely.

 Id. However, Juror 86 failed to complete any portion of the second page, leaving blank

 the entire page, including the signature line. Id. At no point during jury selection

 did any of the attorneys raise any issues about Juror 86’s responses to the questions

 on the first page, her failure to respond to any questions on the second page, or her

 failure to sign the form. Specifically, none of the attorneys asked the Court to bring

 Juror 86’s omission to her attention, to clarify the responses she made, to ask for

 answers to the questions she had omitted, or to make certain that the Juror

 understood that her answers were being given under the penalty of perjury.

       Jury selection began on January 8, 2014. Minute Entry (ECF No. 281). At the

 start of the selection process, the members of the jury pool swore an oath to answer

 truthfully all questions regarding their ability to serve on the jury. Tr. of Proceedings

 at 7:18–23 (ECF No. 399) (Voir Dire Tr.). The Clerk of Court randomly selected

 several jurors, including Juror 86, to come forward to begin the voir dire process. Id.

 at 16. During voir dire, the Magistrate Judge posed the following question to the

 venire:

       Now, as you’ve heard for a couple hours now this morning, this is a case
       about marijuana, which is a controlled substance under federal law. Is
       there anyone on the jury panel who themselves personally or a close
       family member has had any experiences involving controlled
       substances, illegal drugs, specifically marijuana, that would affect your
       ability to be impartial?



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       And by any experiences, I’m talking about whether you or a close family
       member have been involved in a situation involving substance abuse or
       involving treatment that—maybe professionally treating that condition,
       or being the victim of a crime involving those substances, or being the
       perpetrator of a crime where someone alleged those substances were
       involved. Any involve—view or experiences regarding illegal drugs, and
       specifically marijuana, but any illegal drug, controlled substance under
       federal law, is there anyone who’s had that sort of experience?

 Id. at 115:23–16:14. Juror 86 did not respond to the question. Id. at 116:14–17:5.

       Later in voir dire, Magistrate Judge Kravchuk asked:

       Is there anyone here who knows of any other reason, some question I
       haven’t asked or something that’s been sitting there troubling you, why
       hasn’t she asked me about this, those attorneys, those people should
       know about this fact and it might interfere with me being a fair and
       impartial juror or it might appear that it would interfere, is there any
       other fact that you feel would affect in any way your ability to be a fair
       and impartial juror?

 Id. at 143:11–20. Again, Juror 86 did not respond to the question. Id. 143:21–22.

 Following voir dire, Magistrate Judge Kravchuk empaneled the jury, including Juror

 86. Id. at 155:17–18.

       On January 24, 2014, following a three-week trial, the jury found Malcolm

 French, Rodney Russell, Kendall Chase, and Haynes Timberland, Inc., guilty of

 various charges relating to the cultivation, processing, and distribution of marijuana.

 Jury Verdict Form (ECF No. 311). Following their conviction, the Defendants were

 housed at the Piscataquis County Jail until June 19, 2015, when they were

 transferred to the Somerset County Jail to await sentencing. French Mem. at 1;

 French Mem. Attach 1, Aff. of Counsel under Seal ¶ 4 (ECF No. 685) (Hallett Aff.).

       In March 2016, while at the Somerset County Jail, Mr. Chase met a fellow

 prisoner who claimed to know Juror 86. French Mem. at 1. The prisoner informed

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 Mr. Chase that Juror 86 had a son who grew marijuana and was caught at an

 immigration roadblock with ten pounds of marijuana in 2010. Id. Mr. Chase relayed

 the information to Mr. French. Id. at 1–2. After a review of the trial documents in

 his possession, Mr. French determined that Juror 86 did not notify the Court of her

 son’s drug convictions, either on her juror questionnaire or in response to the

 Magistrate Judge’s voir dire questioning. Id. at 2.

       Mr. French asserts that a further investigation into Juror 86’s son, “M.J.,”

 revealed that he had been “involved in the criminal justice system” as follows:

       1)     On December 12, 2002, M.J. was charged with unlawfully

              furnishing marijuana but pleaded guilty to the lesser charge of

              possession of marijuana. He received a 180-day jail sentence, all

              suspended, and one year of probation.

       2)     In May 2003, M.J. violated his probation by testing positive for

              marijuana and possessing marijuana. In October 2003, he again

              violated probation by testing positive for cocaine.      The Court

              partially revoked M.J.’s probation and sentenced him to twenty-

              one days in jail. Juror 86 visited M.J. during his stay in jail.

       3)     In October 2014, M.J. was indicted for unlawful trafficking in

              cocaine. He pleaded guilty to the lesser charge of possession and

              was sentenced to seven days in jail.

       4)     On October 28, immigration officials stopped M.J. at a roadblock

              in Old Town, Maine. They discovered two pounds of freshly cut



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                marijuana in the car.           M.J. was charged with unlawfully

                trafficking in marijuana. M.J. again pleaded guilty to the lesser

                charge of possession.

 Id. at 3–4.

 II.    THE PARTIES’ POSITIONS

        A.      The Defendants’ Motion

        The Defendants’ motion for a new trial2 is based on allegations of juror

 misconduct leading up to and during voir dire. French Mem. at 1–10. The Defendants

 ask for an evidentiary hearing to determine whether the verdicts should be vacated.

 French Mem. at 10.

        Citing the vital importance of an impartial jury, the Defendants say that the

 First Circuit has set forth a two-part test for determining whether a party should be

 granted a new trial based on juror dishonesty. Id. at 6–7 (citing Sampson v. United

 States, 724 F.3d 150, 164–65 (1st Cir. 2013)). First, the moving party must establish

 that “the juror failed to answer honestly a material [voir dire] question.” Id. at 6

 (citing Sampson, 724 F.3d at 164) (alteration added).3                A voir dire question is

 “material” if a response to it “has a natural tendency to influence, or is capable of

 influencing, the judge’s impartiality determination.” Id. (quoting Sampson, 724 F.3d



 2       The Defendants filed their motion for a new trial by May 3, 2016, in order to stay a 14-day
 appeals period. FED. R. APP. P. 4(b)(1)(i). However, the Defendants were unable to complete their
 investigation into the potential juror misconduct by the May 3 deadline. The Defendants filed a
 placeholder motion containing the available facts before the deadline and, with leave of Court,
 subsequently filed a supplemental memorandum with a more complete set of facts and legal
 arguments. For consistency, the Court refers to the Defendants’ supplemental motion as the “motion
 for a new trial.”
 3       The text of Sampson includes the words “voir dire.” Sampson, 724 F.3d at 164.

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 at 165) (internal quotation marks omitted). Second, the moving party must establish

 that “a truthful response to the voir-dire question would have provided a valid basis

 for a challenge for cause.” Id. at 7 (citing Sampson, 724 F.3d at 165). Jurors are

 subject to excusal for cause if they are biased. Id.

              1.     Failure to Answer Honestly a Material Voir Dire Question

       The Defendants maintain that they have met the Sampson binary test and

 that the Court should order an evidentiary hearing to “determine whether to vacate

 his sentence and order a new trial based on newly discovered evidence of juror

 dishonesty.” Id. at 7–10. First, they argue that Juror 86 failed to answer honestly a

 material question. They highlight that Juror 86 responded “n/a” to Question 3 on the

 juror questionnaire when she should have identified at least three criminal

 proceedings involving her son. Id. at 7. Moreover, they point out that Magistrate

 Judge Kravchuk’s voir dire question “laid out the factors which would impact a juror’s

 impartiality” and specifically mentioned marijuana; however, Juror 86 “failed to

 disclose numerous illegal substance charges, convictions and imprisonment of her son

 primarily for growing and selling marijuana.” Id. at 9. They assert that the questions

 were material because of the similarity between her son’s offenses and the subject

 matter of their trial. Id. at 8. That is, “[t]rue answers would have gone to the very

 heart of the case against [the Defendants], and bring directly into issue a mother’s

 ability to be impartial[.]” Id.

              2.     Valid Basis for a Challenge for Cause




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       Second, the Defendants argue that a truthful response to the voir dire question

 would have revealed Juror 86’s bias and provided a valid basis for a challenge for

 cause. Id. at 9. The Defendants apply a compendium of factors set forth in Sampson

 to support a finding of Juror 86’s bias, including (1) the ability to separate her

 emotions from her duty; (2) the similarity between the juror’s experience and the

 important facts presented at trial; (3) the scope and severity of the juror’s dishonesty;

 and (4) the juror’s motivation for lying. They assert that Juror 86 was not able to

 separate her emotions from her duty as a juror because “[i]t is inconceivable that a

 mother that sees her son struggling with criminal convictions and an obvious illegal

 substance abuse issue could remain emotionally detached[.]” Id. Next, they maintain

 that there is a strong similarity between Juror’s 86 son’s experience and the

 Defendants’ case.    Id.   Additionally, they contend that the scope of Juror 86’s

 dishonesty belies her bias because she gave untruthful answers on the jury

 questionnaire and twice during voir dire. Id. Finally, they speculate that Juror 86

 was motivated to lie either because she was embarrassed or because she wanted to

 sit on the jury. Id. at 10. According to the Defendants, these factors support their

 contention that Juror 86 was biased, and that if she had answered the material

 questions truthfully, she would be subject to challenge for cause. Id.

              3.     Request for Evidentiary Hearing

       The Defendants assert that when a party files a non-frivolous motion alleging

 juror misconduct, the judge must complete a “painstaking” investigation into the

 claim. Id. (citing United States v. Lara-Ramirez, 519 F.3d 76, 86 (1st Cir. 2008);



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 Wilgren v. F/V Sirius, Inc., 665 F. Supp. 2d. 23 (D. Me. 2009)).         As such, the

 Defendants ask for an evidentiary hearing on the matter. Id.

       B.     The Government’s Opposition

       The Government disagrees. Gov’t’s Obj. at 1–12. As a preliminary matter, the

 Government makes clear that Juror 86 did not complete or sign her questionnaire,

 and thus her answers to the questionnaire were unsworn. Id. at 2. The Government

 points out that “[w]ell in advance of jury selection, juror questionnaires were made

 available to all the parties for their review” but that none of the attorneys informed

 the Court that Juror 86 “had failed to complete and sign her questionnaire.” Id. Nor

 did defense counsel request that Juror 86 be brought up to sidebar for further inquiry.

 Id. Moreover, at the end of voir dire, Magistrate Judge Kravchuk called counsel to

 side bar and asked whether they were satisfied with voir dire. Id. at 3. No counsel

 requested further questioning. Id.

              1.     Juror 86 Did Not Fail to Answer Honestly

       The Government also argues that Juror 86’s answer to Question 3 does not

 compel the conclusion that Juror 86 provided false information. Id. at 4–5. Question

 3 inquired into court matters involving the jurors or “a close family member.” Id. at

 4. The Government highlights that the Defendants do not provide any evidence that

 Juror 86 and M.J. are actually related, much less that their relationship was “close”

 at the time Juror 86 submitted her questionnaire.          Id. at 5.   Moreover, the

 Government suggests that the term “court matter” could have been ambiguous to




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 Juror 86 “if she was related to the marijuana offender but did not know whether or

 not he went to court.” Id.

       In addition, the Government notes that the Defendants have not offered any

 evidence that Juror 86 failed to provide a truthful response to Magistrate Judge

 Kravchuk’s voir dire questioning. Id. at 5–6. According to the Government, the

 question at issue inquired whether any of the jurors or a close family member “has

 had any experiences involving controlled substances, illegal drugs, specifically

 marijuana, that would affect your ability to be impartial[.]” Id. at 6 (emphasis

 in original). Again, the Government suggests that Juror 86 may not have viewed her

 relationship with M.J. as close. Id. Alternatively, she may have honestly believed

 that M.J.’s experiences with marijuana would not affect her ability to be impartial.

 Id. The Government argues that the Defendants present no evidence to the contrary,

 and that Juror 86’s lack of response indicating that she could be impartial is

 presumed to be truthful. Id. (citing United States v. Rosario, 111 F.3d 293, 300 (2nd

 Cir. 1997); Smith v. Phillips, 455 U.S. 209 (1982)).

              2.     No Basis for a Challenge for Cause

       The Government then attacks the Defendants’ position that Juror 86 was

 biased and that a truthful response during voir dire would have raised a valid basis

 for a challenge for cause.    To begin, the Government questions the Defendants’

 conclusion that Juror 86 was biased. Id. at 7–8. The Government largely agrees with

 the Defendants’ list of applicable factors for determining bias but argues that the

 factors militate against a finding of juror bias in this case. Id. First, the Government



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 argues that there is no evidence that Juror 86 struggled to separate her emotions

 from her duty as a juror. Id. Second, the Government contends that M.J.’s alleged

 criminal conduct is not comparable to the facts of the present case. Id. M.J.’s offenses

 involved only a few instances of a small amount of marijuana, whereas the

 Defendants engaged in a multi-million dollar marijuana operation over several years.

 Id.

       Third, the Government asserts that the scope and severity of Juror 86’s

 misconduct is unclear, especially because it is uncertain whether Juror 86 was aware

 of all of M.J.’s criminal conduct. Id. Fourth, the Government points out that the

 Defendants offer no evidence of Juror 86’s motive. Id.

       Finally, the Government raises another potential factor for determining bias—

 the juror’s interpersonal relationships—but concludes that this factor is inapplicable

 here because there is no suggestion that the juror had a relationship with the

 prosecution team that she failed to disclose. Id. Thus, according to the Government,

 these factors undermine the conclusion that Juror 86 “harbored any actual bias

 against the defendants.” Id. at 8.

       Next, the Government maintains that even if Juror 86 provided false

 information, it is not clear that a truthful answer would have prompted the

 Defendants to challenge Juror 86 for cause. Id. at 10. Under the Government’s

 reading of caselaw, the Defendants must demonstrate that if Juror 86 provided

 truthful information, then the Defendants themselves would have challenged the

 juror for cause. Id. (citing McDonough Power Equipment, Inc. v. Greenwood, 464 U.S.



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 548, 556 (1984)). The Government argues that it is unlikely that the Defendants

 would have raised a for-cause challenge if Juror 86 notified the Court of her son’s

 prior drug-related convictions. Id. at 11. To prove its point, the Government cites

 the example of Juror 10. Id. at 8–11. On her questionnaire and during voir dire,

 Juror 10 informed the Court that her son had been prosecuted for possession of

 marijuana. Id. at 8–9. She intimated that she had strong views in favor of marijuana

 legalization and that her views and her son’s conviction would make it difficult for

 her to be impartial in the Defendant’s case. Id. at 9–10. The Defendants’ counsel

 urged the Magistrate Judge to retain the juror, stating, “I move that we try this case

 in front of that juror only.” Id. at 10. According to the Government, the Defendants

 willingness to keep Juror 10 despite her child’s drug offenses indicates that the

 Defendants would also move to keep Juror 86 if she notified the Court about her son’s

 drug convictions. Id. at 11.

              3.     Opposition to Evidentiary Hearing

       Finally, the Government urges the Court to deny the Defendants’ request for

 an evidentiary hearing.    Id. at 11–12. The Government insists that “[w]here a

 defendant’s proof of misconduct embodies ‘evidence so sparse, a pyramiding of

 inferences so fragile, a thesis so speculative, as to envelop the bias/misconduct charge

 in a miasma of doubt” the need for post-verdict inquiry is lacking. Id. at 11 (citing

 Neron v. Tierney, 841 F.2d 1197, 1203 (1st Cir. 1988)). Here, because the Defendants

 did not provide any documentation to support their allegations, and because the

 Defendants’ allegations against Juror 86 implicate her Fifth Amendment right



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 against self-incrimination, the Government argues that the Court should deny the

 request for an evidentiary hearing. Id. at 12.

       C.     The Defendants’ Reply

              1.    Failure to Answer Honestly a Material Voir Dire Question

       In their reply, the Defendants state that Juror 86’s failure to complete the juror

 questionnaire “has no impact with respect to the false answer that was provided.”

 French Reply at 4. The Defendants point out that although she never signed the

 questionnaire, the preliminary paragraph of the form read “[y]our answers are given

 under the penalty of perjury.” Id. Moreover, “[h]ad [Juror 86] been truthful in her

 answer, much more attention would have been paid to her questionnaire.” Id. In

 effect, her dishonesty “lulled the parties into complacency.” Id. This complacency

 extended to voir dire because her false answer provided no notice that further inquiry

 was necessary. Id. at 5. Finally, the Defendants reject the Government’s contention

 that Question 3 was somehow ambiguous. Id.

       The Defendants also provide additional documentation to support their claim

 that Juror 86 is the mother of M.J. Id. at 5. Notably, the Defendants attach a copy

 of the Kennebec County visitation log, which shows that Juror 86 visited M.J. and

 identified herself as his mother. French Reply Attach 2, Kennebec Cty. Record of

 Visits at 2 (ECF No. 702) (Visitation Log). Additionally, the Defendants attach an

 affidavit from M.J.’s attorney, Lenny Sharon, in which Mr. Sharon swears that Juror

 86 paid M.J.’s legal fees on August 31, 2010, and September 9, 2010. French Reply

 Attach 3, Aff. of Counsel under Seal ¶ 4 (ECF No. 702) (Sharon Aff.).            These



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 documents, the Defendants attest, raise a colorable claim that Juror 86 is M.J.’s

 mother and that she knew about his convictions at the time of jury selection. Id. at

 5–6. Moreover, the documents lend weight to the assertion that Juror 86 and M.J.

 were “close.” Id. at 6.

       Next, the Defendants argue that the Magistrate Judge’s voir dire questioning

 did require an affirmative response from Juror 86. Id. at 6–7. Although the first

 portion of the question regarding illegal drugs inquired whether a close family

 member’s connection with drugs would affect the jurors’ ability to be impartial, the

 second part of the question specifically asked whether any jurors had close family

 members who were “involved in…a crime where someone alleged [illegal drugs] were

 involved.” Id. Because Juror 86’s son was convicted of multiple drug offenses, the

 Defendants claim that she was required to identify herself during the voir dire

 questioning. Id. at 7.

              2.     Valid Basis for a Challenge for Cause

       The Defendants disagree with the Government’s interpretation of the second

 prong of the binary test in Sampson. Id. at 3. According to the Defendants’ reading

 of caselaw, the second prong is satisfied as long as a truthful answer would have

 permitted either party—the Defendant or the Government—to assert a valid

 challenge for cause. Id. That is, even if Juror 86 lied to benefit the Defendants, the

 Defendants themselves could seek a new trial for juror dishonesty under the Sampson

 test. Id.




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        The Defendants acknowledge that the Court cannot know Juror 86’s actual

 motive until she testifies at an evidentiary hearing. Id. Nevertheless, they speculate

 that any bias would actually flow in favor of the Government because Juror 86 would

 likely blame marijuana manufacturers for her son’s consistent drug problems. Id. at

 8. In any event, they state that “[i]t is not unreasonable to assume…given her failure

 to provide truthful answers, that the issues in this case struck an emotional chord[,]”

 id. at 3, and that the resulting bias is sufficient to preclude Juror 86 from sitting as

 a juror. Id. at 8.

        The Defendants argue that whether they would have challenged Juror 10 is

 irrelevant. Id. at 8. They assert that in the case of Juror 10, a valid basis for a

 challenge for cause existed, and the Government properly sought the challenge. Id.

               3.     Request for Evidentiary Hearing

        Finally, although they acknowledge that Juror 86’s failure to truthfully

 respond to voir dire could “trigger criminal liability,” the Defendants downplay the

 Government’s Fifth Amendment concerns, remarking that “[t]hose issues arise

 frequently and are handled by the court system with obvious success.” Id. at 8–9.

 They note that the juror “may not have a problem answering questions, or may seek

 counsel with an attorney.” Id. at 8. The Defendants propose that Juror 86 be

 provided immunity and write that “either the government can seek immunity for the

 witness, or the court sua sponte can grant such immunity” to Juror 86. Id. They end

 by stating that the fact a juror “providing false information may suffer discomfort is




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 not a valid reason to deny a request for a hearing in a very troublesome situation of

 constitutional proportion such as the one at hand.” Id. at 8–9.

 III.   LEGAL STANDARD

        A.    The Constitutional Right to an Impartial Jury

        The Sixth Amendment of the United States Constitution guarantees

 defendants in a federal criminal trial the right to an “impartial jury.” U.S. CONST.

 amend. VI (“In all criminal prosecutions, the accused shall enjoy the right to a speedy

 and public trial, by an impartial jury of the State and district wherein the crime shall

 have been committed . . . .”). “An impartial jury is one ‘capable and willing to decide

 the case solely on the evidence before it.’”       Sampson, 724 F.3d at 163 (quoting

 McDonough, 464 U.S. at 554).        “Voir dire is a singularly important means of

 safeguarding the right to an impartial jury.” Id. “A probing voir dire examination is

 ‘[t]he best way to ensure that jurors do not harbor biases for or against the parties.’”

 Id. at 163–64 (quoting Correia v. Fitzgerald, 354 F.3d 47, 52 (1st Cir. 2003)).

 Furthermore, “[t]he party seeking to upset the jury’s verdict has the burden of

 showing the requisite level of bias by a preponderance of the evidence.” Id. at 166.

        B.    The Sampson Binary Test

              1.     Failure to Answer Honestly a Material Voir Dire Question

        In Sampson, the First Circuit established two requirements for when dishonest

 answers at jury empanelment may justify setting aside a verdict: (1) “that the juror

 failed to answer honestly a material voir dire question,” and (2) that an honest answer

 “would have provided a valid basis for a challenge for cause.” Id. at 164–65 (internal



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 citations and quotation marks omitted).        Regarding the first requirement, the

 Supreme Court in McDonough emphasized that the party moving for a new trial must

 demonstrate “that a juror failed to answer honestly a material question on voir dire.”

 464 U.S. at 556. “[A] voir dire question is material if a response to it ‘has a natural

 tendency to influence, or is capable of influencing,’ the judge’s impartiality

 determination.” Sampson, 724 F.3d at 165 (quoting Neder v. United States, 527 U.S.

 1, 16 (1999)).

       Both the McDonough and Sampson Court also discussed the difference

 between a dishonest answer and an honest but mistaken response. McDonough, 464

 U.S. at 555–56; Sampson, 724 F.3d at 164 n.8. A defendant may still be entitled to a

 new trial if a juror makes an honest but mistaken response but only if the defendant

 has made “a more flagrant showing of juror bias.” Sampson, 724 F.3d at 164 n.8;

 United States v. Fuentes, No. 2:12-cr-50-DBH, 2013 U.S. Dist. LEXIS 115459, at *18–

 19 (D. Me. Aug. 15, 2013).

              2.     Valid Basis for a Challenge for Cause

       “The second part of the binary test requires a finding that a truthful response

 to the voir dire question ‘would have provided a valid basis for a challenge for cause.’”

 Sampson, 724 F.3d at 165 (quoting McDonough, 464 U.S. at 556). A valid basis for a

 challenge for cause normally exists if the jurors “are biased or if they fail to satisfy

 statutory qualifications.” Id. Here, as in Sampson, “only bias is relevant.” Id. In

 making a bias determination, the First Circuit resisted the temptation to create

 categories of bias. Id. Instead, it directed the trial courts to ask whether the juror



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 was “‘capable and willing to decide the case solely on the evidence.’” Id. (quoting

 McDonough, 464 U.S. at 554). It observed that the Supreme Court warned that

 “‘hints of bias [are] not sufficient’” and only “‘[d]emonstrated bias in the responses to

 questions on voir dire may result in a juror’s being excused for cause.’” Id. (quoting

 McDonough, 464 U.S. at 554). The First Circuit also noted that “bias is not a

 pedagogical conception but rather a state of mind” and “[a]ny inquiry into potential

 bias in the event of juror dishonesty must be both context specific and fact specific.”

 Id.

          With these principles in mind, the Sampson Court set down the applicable test

 to determine whether a juror’s bias could provide a valid basis for a challenge for

 cause:

          [W]hether a reasonable judge, armed with the information that the
          dishonest juror failed to disclose and the reason behind the juror’s
          dishonesty, would conclude under the totality of the circumstances that
          the juror lacked the capacity and the will to decide the case based on the
          evidence (and that, therefore, a valid basis for excusal for cause existed).

 Id. at 165–66. To this end, the First Circuit listed some of the factors that the trial

 court might consider to determine bias: (1) “the juror’s interpersonal relationships”;

 (2) “the juror’s ability to separate her emotions from her duties”; (3) “the similarity

 between the juror’s experiences and important facts presented at trial”; (4) “the scope

 and severity of the juror’s dishonesty”; and (5) “the juror’s motive for lying.” Id. at

 166. The First Circuit further explained that while “any one of these factors, taken

 in isolation, may be insufficient to ground a finding of a valid basis for a challenge for

 cause, their cumulative effect must nonetheless be considered.” Id.



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    IV.      DISCUSSION

                A.    Juror 86 and the Juror Questionnaire

                      1.     N/A and the Honest Answer Requirement

          The Court first takes up Juror 86’s incomplete and arguably inaccurate

 response to Question 3 of her juror questionnaire. Again, Question 3(a) was:

          Please describe briefly any court matter in which you or a close family
          member were involved as a plaintiff, defendant, witness, complaining
          witness or a victim.

 Juror 86’s handwritten response was “n/a.” The question is whether the Defendants

 have demonstrated that Juror 86 failed to answer Question 3(a) honestly.

          As a preliminary matter, the initials “n/a” are inherently ambiguous. The most

 common meaning is “not applicable,” but they also can mean “not available” or “no

 answer.”                            See             https://en.wiktionary.org/wiki/n/a;

 http://acronyms.thefreedictionary.com/N%2FA. The Court does not know how Juror

 86 used “n/a” in the context of this jury questionnaire. It well may be, as Defendants

 contend, that she was saying that neither she nor any members of her family had

 been involved in a court matter, or it may be that she was saying that she did not

 have enough information about her son’s involvement with the criminal justice

 system to adequately answer the question.

          The Court turns to the other information in the record to determine whether

 it supplies an answer to what Juror 86 intended. First, based on the substantial

 evidence that Attorney Hallett amassed, the Court accepts the Defendants’

 contention that M.J. is likely Juror 86’s son. In Attorney Hallett’s affidavit, he lists



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 a number of instances in which M.J. was involved with the criminal justice system,

 beginning in 2002, when M.J. was twenty years old, and ending in 2011, when he was

 twenty-eight. Hallett Aff. at 3–4. A review of the submitted documents confirms

 Attorney Hallett’s summary of M.J.’s involvement with the criminal justice system:

 M.J. spent seven days in jail in December 2002, twenty-one days in jail in November

 2003, and seven days in jail in December 2005; he paid a fine in 2011. Hallett Aff. ¶¶

 8–10.    In addition, the Defendants attach to their reply a document entitled

 “Kennebec County Jail Record of Visits” from October 2003, which appears to confirm

 that Juror 86 visited her son while he was in jail on October 24, 2003, when he was

 twenty-one years old. Visitation Log at 2. Finally, the Defendants also demonstrate

 through an affidavit from Attorney Leonard Sharon that he represented Juror 86’s

 son in 2010–2011 when the son was charged and convicted of Unlawful Possession of

 a Schedule Drug, Class E, and fined $750. Hallett Aff. ¶ 10; Sharon Aff. ¶ 3 (ECF No.

 702). It is also true that a woman with the same name as Juror 86, likely M.J.’s

 mother, paid some or all of Attorney Sharon’s legal fees. Sharon Aff. ¶ 4.

         Even assuming that Juror 86 was generally aware her son had been in and out

 of some kind of legal trouble and that she had sent some money to his attorney in

 2010, this does not necessarily mean that she “failed to answer honestly a material

 question on voir dire.” McDonough, 464 U.S. at 556. Juror 86 may have concluded

 that she could not accurately describe his involvement in these “court matters,” and

 it was proper to indicate that she did not have enough information to answer the

 question.



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       Alternatively, Juror 86’s information about her son’s legal troubles may have

 been non-specific. At the time of jury selection on January 8, 2014, according to her

 questionnaire, Juror 86 was about sixty years old, Juror Questionnaire at 1, and

 according to the Defendants’ information, her son was thirty-one. French Reply

 Attach. 14, Call for Serv. at 2 (ECF No. 702). A sixty-year-old mother of a thirty-one-

 year-old son might or might not be sufficiently aware of the details of his scrapes with

 the law that occurred in his twenties to describe them accurately in a jury

 questionnaire.

       Secondly, the questionnaire does not define “court matter.” As lawyers and

 judges, this phrase would likely be interpreted to mean a civil or criminal case filed

 in court, whether or not the case went to trial. However, given the fact that the jury

 questionnaire was being asked in the lead-up to jury selection for a trial, a lay person

 might have interpreted “court matter” to mean a trial, and there is no evidence that

 Juror 86’s son went to trial on any of his charges.

       The Court does not know what exactly Juror 86 was thinking when she wrote

 “n/a” because defense counsel did not seek to question her during voir dire. With

 these ambiguities, the Court concludes that the Defendants have not demonstrated

 that Juror 86 “failed to answer honestly a material voir dire question” by responding

 “n/a” to Question 3(a). Sampson, 724 F.3d at 164–65.

              2.     An Honest, but Mistaken Response

       At the same time, based on the record evidence, the Court also concludes that

 Juror 86’s response to Question 3(a) was likely mistaken. Her son had been involved



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 in court matters, some involved illegal drugs, and the most recent one involved

 marijuana, the same controlled substance the Defendants were charged with

 conspiring to manufacture. Even if the Defendants have not demonstrated that Juror

 86 knew enough about her son’s legal issues for the Court to conclude she was actively

 lying about his involvement, the Defendants have produced evidence, including her

 visit to her son while he was in jail and her payments to his defense lawyer to

 establish that her “n/a” response was at least mistaken. In other words, the question

 as to whether any close family member—her son obviously qualifies—was involved

 in any court matter should have elicited a response from Juror 86 that alerted the

 Magistrate Judge and the attorneys for both the Government and for the Defendants

 about her son’s involvement with court matters.

       This conclusion, however, does not necessarily require a new trial.               In

 Sampson, the First Circuit left open the question of whether an honest but mistaken

 response—without more—would be sufficient to entitle a defendant to a new trial.

 724 F.3d at 164 n.8 (“[I]t suffices to say that in the absence of dishonesty, post-trial

 relief, if available at all, will require a more flagrant showing of juror bias”) (emphasis

 added). The First Circuit has not had the opportunity to further explain this cryptic

 “if available at all” comment. It may be, therefore, that Defendants’ requested relief

 is unavailable. However, this Court concludes that because the Defendants have not

 demonstrated that Juror 86’s responses were dishonest, this is not a case where post-

 trial relief would be appropriate, and assuming it is possible that an honest but




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 mistaken juror response could justify a new trial, the Court concludes that the

 Defendants have failed to make “a more flagrant showing of juror bias.” Id.

                3.      The Role of Counsel During Voir Dire

        The Court has already described the vital role voir dire plays in securing “the

 accused…the right to a speedy and public trial, by an impartial jury.” U.S. Const.

 amend. VI. Indeed, Federal Rule of Criminal Procedure 24 expressly provides that

 if, as here, the judge questions the potential jurors, it “must permit the attorneys for

 the parties to…submit further questions that the court may ask if it considers them

 proper.” FED. R. CRIM. P. 24(a)(2)(B). The Court has adopted procedures designed to

 provide counsel with sufficient information to submit such questions for consideration

 to the presiding judge. In this case, in accordance with the District’s Jury Selection

 Plan, the Clerk’s Office made the responses to the jury questionnaires available

 before empanelment to all counsel or persons employed by or working for the

 attorneys. U.S. Dist. Ct., Dist. of Me., Plan for the Random Selection of Grand and

 Petit Jurors for Serv. in the Dist. of Me. as Am. Dec. 19, 2012 XV(2). More specifically,

 on December 3, 2013, when the case was set for trial, the Clerk’s Office issued a notice

 stating:

        Jury questionnaires will be available for inspection in the Clerk’s Office
        three days prior to jury empanelment and should be reviewed since the
        questions asked in them will not be re-asked during voir dire.

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 on Jan. 8, 2014 at 1 (ECF No. 207) (Scheduling Notice).4 As a matter of practice, the


 4      In this Scheduling Notice, the Court permitted all parties to submit proposed questions in
 advance of voir dire. Scheduling Notice at 1 (“Any requested voir dire interrogatories…shall be filed

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 Clerk’s Office makes the jury questionnaires available to counsel as the completed

 questionnaires come in, typically substantially in advance of the three-day period in

 the trial notice. Thus, all counsel had access to Juror 86’s questionnaire before the

 jury empanelment on January 8, 2014. Indeed, on January 7, 2014, counsel for

 Haynes Timberland filed a motion regarding access to juror information that was

 premised on his prior access to the jury information in the Clerk’s Office. Def. Haynes

 Timberland, Inc.’s Mot. for Access to Juror Information (ECF No. 275).5 If counsel

 had any issues with Juror 86’s completion of her jury questionnaire, they were free,

 as counsel for Haynes Timberland did, to bring those issues to the Magistrate Judge’s

 attention by pretrial motion or at voir dire. They did not.

        Moreover, Juror 86’s answer “n/a” to Question 3(a), her failure to answer any

 questions at all on the second page of the jury questionnaire, and her failure even to

 sign the questionnaire were all immediately obvious.                     The jury questionnaire

 consisted of two full pages with twelve questions, some with subparts.                           Jury

 Questionnaire at 1–2. Juror 86 answered only the questions on the first page, namely

 six questions, and she left the entire second page blank. Id. From her answers, the




 by December 31, 2013”). On December 31, 2013, Defendant Haynes Timberland, Inc., filed proposed
 questions, but these questions concerned issues relating to illegal immigration. Def. Haynes
 Timberland, Inc.’s Request for Voir Dire (ECF No. 257). The Government submitted a question
 relating to immigration, as well as a question concerning marijuana legalization and the use of medical
 marijuana. Gov’t’s Proposed Voir Dire (ECF No. 247). No party proposed questions that sought
 information about drug convictions involving the jurors’ families. Nor did the parties request that the
 Magistrate Judge clarify her questions regarding the venire’s impartiality and prior experiences with
 illegal drugs. This failure to ask the right questions would seem to preclude a finding of juror
 misconduct, much less “a more flagrant showing of juror bias” for honest but mistaken responses,
 regardless of whether Juror 86 fully completed her questionnaire.
 5       The Magistrate Judge held a hearing on the motion the morning of jury selection and it was
 quickly resolved. Tr. of Proceedings, Mot. Hr’g (ECF No. 464).

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 lawyers only knew the juror’s name, age, place of birth, length of residency in Maine,

 marital status, number of children, prior occupation before retirement, and current

 occupation. Id. at 1. She wrote “n/a” to questions about prior service on a grand jury

 and on a jury. Id. She wrote “n/a” to the question about her or a close family

 member’s involvement with any court matter and to whether either she or an

 immediate family member had been employed in law enforcement. Id.

        Because she left the second page blank, at the time of voir dire, the lawyers did

 not know (1) if Juror 86 was married, her spouse’s occupation,6 (2) her level of

 education, (3) whether she had any charges currently pending against her for any

 state or federal crimes, (4) whether she had ever been convicted of a state or federal

 crime, (5) whether she read, spoke, and understood English, and (6) whether she had

 any physical or mental conditions which would require accommodations to assist her

 in her jury service. Jury Questionnaire at 2.

        Even more significantly, the bottom of page two contains the following

 statement:

        I declare under penalty of perjury that I have answered all the foregoing
        questions truthfully and completely.

 Jury Questionnaire at 2. Beneath this declaration is a place for the prospective juror

 to place her signature. All of the second page, including the signature block affirming

 the truthfulness of the information, is blank on Juror 86’s questionnaire.                      Id.




 6       Based on the obituary that defense counsel supplied, French Reply Attach. 5, Obituary, Juror
 86’s husband may have passed away in 2004. However, the answer to Question 7, like all the questions
 on the second page, is blank.

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 Accordingly, Juror 86 never affirmatively represented that the answers she

 completed were true and complete as required by the form.7

        Even though all the lawyers, including defense counsel, were or should have

 been well aware that Juror 86 had failed to complete the jury questionnaire, had left

 half of the questions blank, had inserted some answers that were ambiguous, and

 had failed to sign the form, affirming the truth of her responses, they failed to bring

 any of these issues to the attention of the presiding judge and failed to request that

 she question Juror 86. In McDonough, the Supreme Court was careful to point out

 that “it ill serves the important end of finality to wipe the slate clean simply to

 recreate the peremptory challenge process because counsel lacked an item of

 information which objectively he should have obtained from a juror on voir dire

 examination.” 464 U.S. at 555.

        Here, because the lawyers remained silent, the Court does not know what

 would have happened if they had brought Juror 86’s form to the Magistrate Judge’s

 attention. However, during voir dire, the Magistrate Judge not only repeatedly

 brought numerous prospective jurors to sidebar to discuss specific issues, but she

 freely allowed counsel to approach sidebar to discuss issues the lawyers raised. Voir

 Dire Tr. 12:12–14, 13:24–14:15, 22:2–155:3. Based on the Magistrate Judge’s conduct

 of the voir dire, the Court concludes that if any of the lawyers had brought Juror 86’s




 7       There is a lead-in paragraph in the jury questionnaire that reads in part: “Your answers are
 given under penalty of perjury; you must give true and complete answers to all questions.” Jury
 Questionnaire at 1. The Court could assume that Juror 86 read and understood the perjury warning,
 but the form also instructed Juror 86 that her answers had to be not only true but complete, and she
 did not complete the form.

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 incomplete questionnaire to the Magistrate Judge’s attention, the Magistrate Judge

 would have asked Juror 86 to come to sidebar, would have discussed with her the

 contents of the form, would have asked her to review her answers and the blanks,

 would have asked her to answer the unanswered questions and to review the ones

 she answered, would have told her that she was providing the answers under penalty

 of perjury, and would have asked her whether her completed answers were true.

 Moreover, if counsel had any concerns about her “n/a” responses, the Magistrate

 Judge herself would have either questioned Juror 86 or allowed them to do so at

 sidebar.

       The Defendants explain, however, that they could not have obtained the

 information about Juror 86’s experiences with marijuana, nor even asked the right

 questions of the juror during voir dire, because Juror 86 incorrectly wrote “n/a” next

 to Question 3, which asked about prior court matters involving the jurors or their

 close family. In fact, the Defendants make the unusual claim that Juror 86’s answer

 to Question 3(a) “lulled the parties into complacency.” French Reply at 4. Here, by

 “parties,” the Defendants really mean the lawyers. The law does not expect criminal

 defense lawyers to be so easily tranquilized and certainly does not expect them to be

 complacent in protecting their clients’ Sixth Amendment rights to an impartial jury.

 Obvious omissions and ambiguities in the juror questionnaires constitutes

 “information which objectively [counsel] should have obtained from a juror on voir

 dire examination.” McDonough, 464 U.S. at 555. In fact, the Sampson binary test

 implicitly requires defendants to have asked the presiding judge to pose the right



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 questions of the venire during voir dire. See Sampson, 724 F.3d at 164–65 (an honest

 answer “would have provided a valid basis for a challenge for cause”).

       Given the facts in this case, the Court concludes that the Defendants may not

 rely on an incomplete, unsworn, and ambiguous questionnaire to support their theory

 of jury misconduct when it was the Defendants’ own responsibility to recognize the

 problem and address the issue when voir dire commenced well over two years ago.

       B.     Juror 86 Did Not Fail to Answer Honestly a Material Voir Dire
              Question

       The Court turns to the Defendants’ second contention: that Juror 86 failed to

 honestly answer one of the Magistrate Judge’s questions during jury voir dire. Part

 one of Sampson’s binary test requires the Court to determine whether “the juror

 failed to answer honestly a material voir dire question.” Sampson, 724 F.3d at 164.

       To set the stage, the Magistrate Judge began the jury selection process by

 explaining the procedure. She first told the venire that they were required to answer

 all questions truthfully: “Now, in a moment, [the Clerk] is going to administer to you

 your oath. That’s your jurors’ oath to answer truthfully to all of the questions that

 are put to you.” Voir Dire Tr. 2:24–3:1. Subsequently, the Clerk administered the

 following oath:

       Do each of you solemnly swear that you will truly answer all questions
       put to you by the court regarding your ability to serve on the jury to be
       drawn today, so help you God?

 Id. 7:19–22. The transcript indicates that all potential jurors responded, “Yes.” Id.

 7:23. The Magistrate Judge also informed the venire about the protocol to be followed

 if one of the potential jurors had an affirmative response to one of the questions. Id.

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 3:8–14. She told them that she would often ask them to come to sidebar to discuss

 the matter privately. Id. 3:10–14. The Magistrate Judge informed the venire that

 “[t]his morning’s exercise is our attempt to obtain [a] fair and impartial jury” and she

 again reminded them that “it’s so imperative that you answer truthfully and

 honestly…all these questions.” Id. 4:6–9.

       Before the Magistrate Judge came to the disputed question in this case, she

 followed the procedure she had outlined: asking a general question to all the potential

 jurors and, if there was a positive response, she asked the responding juror to come

 to sidebar. See id. 21:18–22:3. Thus, before the Magistrate Judge asked the question,

 Juror 86 had taken an oath to tell the truth in response to any questions, had been

 reminded of the vital importance of answering the questions truthfully, and was

 aware that if she answered a question affirmatively, her privacy would be protected

 by a sidebar conference.

       Toward the end of the voir dire, the Magistrate Judge put the following

 question to the potential jurors:

       Now, as you’ve heard for a couple hours now this morning, this is a case
       about marijuana, which is a controlled substance under federal law. Is
       there anyone on the jury panel who themselves personally or a close
       family member has had any experiences involving controlled
       substances, illegal drugs, specifically marijuana, that would affect your
       ability to be impartial?

       And by any experiences, I’m talking about whether you or a close family
       member have been involved in a situation involving substance abuse or
       involving treatment that—maybe professionally treating that condition,
       or being the victim of a crime involving those substances, or being the
       perpetrator of a crime where someone alleged those substances were
       involved. Any involve—view or experiences regarding illegal drugs, and



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        specifically marijuana, but any illegal drug, controlled substance under
        federal law, is there anyone who’s had that sort of experience?8

 Voir Dire Tr., at 115:23–116:14.            As an initial matter, the question was clearly

 material. By its terms, the question sought to identify jurors who believed that their

 prior experiences with illegal drugs might affect their ability to be impartial.

 “Questions that go to the heart of juror impartiality are unarguably material to the

 voir dire process.” Sampson, 724 F.3d at 167.

        Given the results of the Defendants’ post-trial investigation of Juror 86 and

 her son, the Defendants strenuously contend that Juror 86 should have responded

 affirmatively to the Magistrate Judge’s question. The Court disagrees. As every trial

 lawyer knows, the answer depends upon the question asked. Here, it is essential to

 parse the question to see whether, given what is known about Juror 86’s son, she

 should have responded affirmatively. The precise question was:

        Is there anyone on the jury panel who themselves personally or a close
        family member has had any experiences involving controlled
        substances, illegal drugs, specifically marijuana, that would affect your
        ability to be impartial?




 8       The Court acknowledges that conducting jury voir dire is a difficult art; nevertheless, the
 question here was unusually long and convoluted with subordinate clauses and stops and starts. The
 issue before this Court would have been clearer if the Magistrate Judge had asked a more generalized
 and direct question—for example, have you or a close family member had any experiences with drugs
 that would make it difficult for you to be a fair and impartial juror? At sidebar, the Magistrate Judge
 could have followed up with specific questions about the nature of the experience. Although the Court
 is always concerned about requiring people to acknowledge publicly that they or a close family member
 has had a problem with drugs, this Court’s experience has been that the people in the venire are willing
 to raise their hands and come to sidebar to explain their experiences, including as in this case,
 revealing that a son or daughter has had trouble with the law due to illegal drug use. Again, the Court
 emphasizes the role of counsel. Even though the practice in this District is for the judge to perform
 jury voir dire, this does not absolve counsel from the duty to bring a convoluted question—such as the
 one in this case—to the attention of the judge and ask for a more direct question.

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 Id. 115:25–116:4 (emphasis added). For good reason, the Magistrate Judge did not

 ask the venire whether any of them or a close family member had “had any

 experiences involving controlled substances, illegal drugs, specifically marijuana.” A

 question phrased this way would have run the risk of forcing a potential juror to

 confess to a crime in front of a federal prosecutor. The way the Magistrate Judge

 phrased the question allowed the potential jurors to decide for themselves whether

 their or their families’ experiences with drugs would have affected their ability to be

 impartial. In fact, the phrasing presumes that some jurors or their close family

 members might have had experiences with drugs that would not render them unable

 to be impartial.

       The Defendants correctly point out that the second portion of the Magistrate

 Judge’s question expressly mentions “a close family member . . . being the perpetrator

 of a crime where someone alleged those substances were involved.” Id. 116:6–11. The

 Defendants contend that this question required Juror 86 to “come clean with respect

 to involvement of any kind of illegal substances” and that her failure to answer

 honestly satisfies the first prong of the Sampson test. French Reply at 7. The Court

 disagrees. In her long description, the Magistrate Judge was giving examples of

 experiences that could lead a juror to conclude that she could not be impartial. The

 Magistrate Judge never said nor implied that if a close family member had been

 accused of committing such a crime, the juror must respond affirmatively so that the

 Court and the attorneys could make their own evaluation of the juror’s ability to be

 impartial.   In other words, the Magistrate Judge asked the potential jurors to



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 consider certain types of experiences that could affect a juror’s fairness, and then

 asked them whether they believed their life experiences would affect their ability to

 remain impartial. It is entirely reasonable to conclude that, upon hearing these

 examples, Juror 86 maintained her belief that she could decide the facts of the case

 based solely on the evidence despite her son’s previous involvement with marijuana.

         Thus, the Defendants’ argument rests on the faulty premise that because Juror

 86’s son was previously convicted of a drug offense, she must have lied when she

 resolved that she could be an impartial juror. One does not necessarily flow from the

 other. It may well be that Juror 86 believed that, despite her son’s troubles with the

 law, she would still be able to impartially judge the facts of the case based solely on

 the evidence presented at trial, and therefore an affirmative response was not

 necessary. The Defendants offer no proof to the contrary.

         Moreover, Juror 86 swore an oath at the beginning of the voir dire process, and

 the Defendants’ assumption runs headlong into the presumption that potential jurors

 tell the truth on voir dire.9 See United States v. Huguenin, 950 F.2d 23, 30 (1st Cir.

 1991) (endorsing the view that “courts ordinarily presume veniremen to tell the truth




 9       This presumption makes eminently good sense in the context of jury selection. Having been
 screened by security, having entered an impressive federal courtroom, having been sworn to tell the
 truth in a court of law, having been presented with instructions about the imperative to tell the truth
 so that the parties receive a fair and impartial trial, in the presence of a federal judge, two federal
 prosecutors, and in this case, five defense lawyers, the potential jurors, including Juror Number 86,
 must have known that this was very serious business. Moreover, knowingly lying during voir dire
 subjects jurors to possible criminal contempt pursuant to 18 U.S.C. § 401, as well as to possible
 substantial restitution claims by the government. United States v. Colombo, 869 F.2d, 146, 151 (2nd
 Cir. 1989). This does not mean that potential jurors will never willfully lie or make honest mistakes
 in responding to voir dire inquiries. But the incentive for potential jurors to be scrupulously honest is
 apparent.


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 on voir dire”) (citing United States v. Masat, 896 F.2d 88, 95 (5th Cir. 1990)); see also

 United States v. Gometz, 879 F.2d 256, 261 n.3 (7th Cir. 1989) (concluding that where

 no member of the jury expressed prejudicial sentiments during voir dire regarding

 the defendant’s decision to invoke the Fifth Amendment, “the law is entitled to

 presume that these individuals responded to questions honestly”); United States v.

 Rosario, 111 F.3d 293, 300 (2nd Cir. 1997) (“[A]bsent evidence to the contrary, we

 presume that jurors remain true to their oath”). Based on an analysis of the precise

 question, the Court concludes that the Defendants have not overcome this

 presumption. Without more, the Court does not conclude that Juror 86 failed to

 answer honestly the Magistrate Judge’s question.

       Finally, at the end of the entire session, the Magistrate Judge inquired:

       Is there anyone here who knows of any other reason, some question I
       haven’t asked or something that’s been sitting there troubling you, why
       hasn’t she asked me about this, those attorneys, those people should
       know about this fact and it might interfere with me being a fair and
       impartial juror or it might appear that it would interfere, is there any
       other fact that you feel would affect in any way your ability to be a fair
       and impartial juror?

 Voir Dire Tr., at 143:14–21 (emphasis added). No jurors responded affirmatively. Id.

 at 143:22–23. Once again, it may be that Juror 86 believed that her son’s prior drug

 convictions would not impact her ability to be a fair and impartial juror. Juror 86

 swore an oath before voir dire, and this Court will presume that Juror 86 answered

 the Magistrate Judge’s questions in accordance with that oath.




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       In sum, the Court does not find that the facts in this case establish that Juror

 86 “failed to answer honestly a material voir dire question.” Sampson, 724 F.3d at

 164–65.

       C.     Valid Basis for a Challenge for Cause

       Assuming arguendo that the Magistrate Judge’s questioning required Juror 86

 to disclose her son’s convictions, and that Juror 86 failed to answer honestly by

 remaining silent, it is still not clear that the Defendants have satisfied the second

 prong of Sampson’s binary test, namely, that a truthful response to the question

 would have provided a valid basis for cause. See Sampson, 724 F.3d at 165. In

 Sampson, the First Circuit discussed the standard by which a trial court should

 evaluate a challenge for cause:

       [W]hether a reasonable judge, armed with the information that the
       dishonest juror failed to disclose and the reason behind the juror’s
       dishonesty, would conclude under the totality of the circumstances that
       the juror lacked the capacity and the will to decide the case based on the
       evidence (and that, therefore, a valid basis for excusal for cause existed).

 724 F.3d at 165–66.

       In Sampson, the First Circuit listed a number of factors that may be relevant

 in determining whether a juror “has both the capacity and the will to decide the case

 solely on the evidence.” 724 F.3d at 166. Those factors include (1) “the juror’s

 interpersonal relationships”; (2) “the juror’s ability to separate her emotions from her

 duties”; (3) “the similarity between the juror’s experiences and important facts

 presented at trial”; (4) “the scope and severity of the juror’s dishonesty”; and (5) “the

 juror’s motive for lying.” Id. at 166.



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       The Sampson decision cited cases containing examples of each factor. For “the

 juror’s interpersonal relationships,” the Sampson Court cited United States v.

 Colombo, 869 F.2d, 146, 151–52 (2nd Cir. 1989), and United States v. Scott, 854 F.2d

 697, 698–700 (5th Cir. 1988). In Colombo, a potential juror deliberately refused to

 reveal that her brother-in-law was a government lawyer and admitted to a fellow

 juror that she had done so in order to be seated on a jury involving those who allegedly

 plotted their crimes at a business near her residence. 869 F.2d at 151–52. In Scott,

 a potential juror failed to disclose that his brother was a deputy sheriff in the office

 that performed some of the investigation of the case being tried. 854 F.2d at 698.

 Here, in the circumstances of this case, Juror 86’s failure to reveal that her son was

 convicted of previous drug offenses does not approach the facts in Colombo or Scott.

       The second and third factors are closely related. The second factor is when a

 juror finds it difficult to separate emotions from a duty to be objective. The third

 factor is the similarity between the juror’s experiences and important facts presented

 at trial. With respect to the second factor, the First Circuit cited two cases. See

 Dennis v. Mitchell, 354 F.3d 511, 518–19 (6th Cir. 2003); Burton v. Johnson, 948 F.2d

 1150, 1158–59 (10th Cir. 1991). In Dennis, a death penalty case for murder occurring

 during a robbery, the Sixth Circuit affirmed the denial of a petition for writ of habeas

 corpus even though a female juror failed to disclose that contemporaneous with jury

 selection, she was soon to sign a criminal complaint as the victim in a case involving

 gross sexual imposition. 354 F.3d at 518–19. Upon questioning, the juror informed

 the trial court that she was confident in her ability to separate her emotions from her



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 juror duty in part because she did not view the defendant’s crime as similar to her

 experience. Id. at 518. The Sixth Circuit upheld the trial court’s determination that

 the juror could satisfactorily separate her emotions the case. Id. at 519–521. In

 Burton, by contrast, the Tenth Circuit affirmed the granting of a new trial where the

 defendant had been charged with shooting and killing her husband and the defense

 was the “battered woman’s syndrome.” 948 F.2d at 1151. The juror failed to reveal

 that she and her children had been and at the time of the trial were still victims of

 abuse. Id. at 1154.

       With respect to the third factor, the First Circuit cited Burton, as well as

 United States v. Torres, 128 F.3d 38 (2nd Cir. 1997). In the latter case, the defendants

 were on trial for money laundering and structuring deposits to avoid the $10,000

 reporting requirements, and the potential juror admitted that she had similarly

 engaged in structuring deposits to avoid the $10,000 reporting requirement. Id. at

 41–42. The Second Circuit upheld the trial court’s decision to excuse the juror for

 cause because the activities were “closely akin” and “too closely resembled” one

 another. Id. at 41, 48.

       In this case, the Defendants’ case and Juror 86’s son’s experiences both relate

 to marijuana, and it appears that they all grew marijuana in a bog, French Mem. at

 3; French Reply Attach 7, Aff. in Supp. of Probable Cause at 1 (ECF No. 702), but the

 similarities end there. In Torres and Burton, the jurors’ experiences aligned closely

 with the circumstances surrounding the defendants’ trials. See also Sampson, 724




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 F.3d at 168 (finding bias where the overlap between a juror’s experience and the

 defendants’ conduct was “striking”).

        Here, by contrast, the Government charged the Defendants with operating a

 multi-million dollar marijuana production and distribution conspiracy. Juror 86’s

 son’s illegal activity was of a different order of magnitude. He was convicted three

 times of low-level drug possession offenses for which he actually served only seven

 days in jail. French Mem. at 3–4. Like many drug defendants, he had some difficulty

 staying clean, and when he was in his early twenties, he ended up violating his

 probation conditions and spending twenty-one days in jail. Id.

        Because of the differences between Juror 86’s experiences and the

 circumstances surrounding the Defendants’ trial, it is reasonable to conclude that

 Juror 86 was able to separate her emotions from her duty to be objective. In this way,

 Juror 86’s case is more akin to Dennis than Burton. The Defendants have failed to

 produce any convincing evidence to the contrary. Indeed, Juror 86’s lack of response

 to the Magistrate Judge’s questions regarding impartiality provides some evidence

 that she actually believed herself able to separate her emotions from her duty. Thus,

 the Court determines that neither the second nor third Sampson factor is indicative

 of bias in this case.

        The fourth factor is the scope and severity of the juror’s dishonesty. Again, the

 First Circuit cited two cases. In the first, Dyer v. Calderon, 151 F.3d 970 (9th Cir.

 1998), a death penalty case involving hostage-taking and murder, a juror denied that

 any of her relatives or close friends had ever been the victim of any crime, and denied



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 that any of her relatives or close friends had ever been accused of crimes other than

 traffic offenses. Id. at 972. In fact, her brother had been pistol-whipped and shot in

 the back of the head, and it turned out that the juror and her siblings had been

 kidnapped by her father when she was a child, that she had been attacked at

 knifepoint by her cousin, that she was the victim of countless burglaries, that her

 husband had been arrested on rape charges just a month before trial, and that

 numerous other members of her family had been in serious trouble with the law. Id.

 at 975, 979–81 (describing her first denial as “just the tip of Pinocchio’s nose”). The

 second case, Scott, is the case where the potential juror failed to reveal his brother’s

 employment with a law enforcement agency investigating the case. 854 F.2d at 697–

 98.

        The facts of the present case differ substantially from either Dyer or Scott. In

 Dyer, the defendant flatly lied to a direct question, and the lie masked the fact that a

 number of her past experiences closely resembled the circumstances of the case. In

 this case, Juror 86 failed to respond to a rather convoluted voir dire question that, in

 the Court’s view, related to the ability of the jurors to be impartial. Unlike Scott,

 where the juror’s brother was a member of the agency investigating the case, there is

 no indication that Juror 86’s son was in any way related to the Defendants’ drug

 activities.

        The final factor is the juror’s motivation for lying. The First Circuit cited

 McDonough, as well as Skaggs v. Otis Elevator Co., 164 F.3d 511 (10th Cir. 1998). In

 McDonough, the Supreme Court addressed a “mistaken, though honest response to a



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 question.” 464 U.S. at 555. In Skaggs, a civil action, a voir dire question should have

 elicited the potential juror’s history of lawsuits, but the juror failed to mention them.

 164 F.3d at 514. The Tenth Circuit observed that the evidence failed to establish that

 the juror’s non-disclosure was motivated by a desire to obtain a seat on the jury and

 that he may have been motivated by embarrassment about his personal financial

 difficulties and subsequent litigation. Id. at 518.

        Here, the Defendants speculate about why Juror 86 might have failed to admit

 her son’s criminal conduct. French Mem. at 10. They claim that “this juror was either

 too embarrassed to provide the information needed, or wanted to sit on the jury.” Id.

 The Court views these arguments skeptically. First, the Defendants provide no

 evidence at all that Juror 86 wanted to sit on the jury, other than to say “it could

 easily be that [Juror 86] did want to be seated[.]” French Reply at 8. Second, Skaggs

 itself makes clear that Juror 86’s embarrassment alone would not provide a valid

 basis for a challenge for cause. 164 F.3d at 514. Again, the Tenth Circuit ruled that

 the evidence in that case did not demonstrate juror bias because an “equally plausible

 explanation” for the juror’s silence may have been embarrassment. 164 F.3d at 518;

 see also McDonough, 464 U.S. 548, 556 (“The motives for concealing information may

 vary, but only those reasons that affect a juror’s impartiality can truly be said to affect

 the fairness of a trial”).

        Based on the First Circuit’s teaching in Sampson, the Court concludes that a

 reasonable judge, upon learning of the prior drug convictions of Juror 86’s son and in

 the face of Juror 86’s representation that she could be fair and impartial, would not



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 have sustained a challenge for cause because there would have been no valid basis to

 “conclude under the totality of the circumstances that the juror lacked the capacity

 and the will to decide the case based on the evidence (and that, therefore, a valid basis

 for excusal for cause existed).” Sampson, 724 F.3d at 165–66.10

         D.      The Right to a Hearing

                 1.      General Legal Principles

         In their motion, the Defendants maintain that they have presented a “non-

 frivolous” claim justifying a full investigation, including a hearing in which the Court

 questions Juror 86. French Mem. at 10; French Reply at 8–9. They recognize that

 Juror 86 “may suffer discomfort” in such a hearing but contend that the Court’s duty

 to ensure that the Defendants received a fair trial outweighs such considerations. Id.

 The Government responds that the Defendants have not offered any evidence that

 Juror 86 was biased and thus a hearing is unwarranted. Gov’t’s Obj. at 12.

         The First Circuit has instructed that if a “nonfrivolous suggestion is made that

 a jury may be biased or tainted by some incident, the district court must undertake

 an adequate inquiry to determine whether the alleged incident occurred and if so,

 whether it was prejudicial.” United States v. Ramirez-Rivera, 800 F.3d 1, 40–41 (1st

 Cir. 2015) (quoting United States v. Ortiz-Arrigoitia, 996 F.2d 436, 442 (1st

 Cir.1993)). The First Circuit has emphasized, however, that the trial court “is vested


 10      The Government contends that the Defendants’ desire to retain Juror 10 provides further proof
 that the Defendants would not have asserted a challenge for cause if Juror 86 provided a truthful
 answer. Gov’t’s Obj. at 8–11. The analogy to Juror 10 is unpersuasive. Juror 10’s views toward
 marijuana clearly favored the Defendants. In fact, Defense counsel quipped that, “I move that we try
 this case in front of that juror only.” By contrast, accepting her silence as an affirmation of her belief
 that she could be impartial, there is no other evidence that Juror 86’s feelings toward marijuana would
 have favored either the Defendants or the Government.

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 with the discretion to fashion an appropriate and responsible procedure to determine

 whether misconduct actually occurred and whether it was prejudicial.” Id. at 41

 (quoting Ortiz-Arrigoitia, 996 F.2d at 443). “Substantial deference is due the trial

 court's exercise of its discretion[.]” Id. (quoting United States v. Angiulo, 897 F.2d

 1169, 1185 (1st Cir.1990)).

       The First Circuit also teaches that when a defendant’s assertions embody

 “evidence so sparse, a pyramiding of inferences so fragile, a thesis so speculative, as

 to envelop the bias/misconduct charge in a miasma of doubt,” then an evidentiary

 hearing with the juror is not constitutionally required. Neron, 841 F.2d at 1203 (1st

 Cir. 1988). In Neron, the defendant claimed that his “son had dated a woman who

 later became a juror.” Id. The First Circuit found that “[t]he mere fact that [the

 defendant’s] son dated a woman who later became a juror was not ‘so inherently

 prejudicial that [the defendant] was thereby denied his constitutional right to a fair

 trial. Id. The First Circuit went to on say that the defendant “was obliged to make a

 more cogent showing before it became constitutionally imperative to recall the juror.”

 Id.

       The same is true in this case. The criminal activities of Juror 86’s son differ in

 significant ways from the Defendants’ conduct in this case. The fact that Juror 86’s

 son committed minor drug offenses—relative to the Defendants—was not “so

 inherently   prejudicial   that   [the Defendants    were]   thereby    denied   [their]

 constitutional right to a fair trial.”   See id. at 1203.    As explained above, the

 Defendants have not produced convincing evidence either that Juror 86 failed to



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 answer honestly a material question or that she was biased. In accordance with

 Neron, this Court concludes that the Defendants are “obliged to make a more cogent

 showing” before the Court will recall the juror for an evidentiary hearing. See id.

                2.      Propriety of Questioning Juror 86

        This is the second time the Defendants in this case have attacked the verdict

 by attacking the jurors. In resolving the prior motion against the Defendants, this

 Court expressed its concerns regarding the fairness of hauling a juror into court and

 demanding that the juor testify to what he was thinking during voir dire one year

 earlier. See United States v. French, No. 1:12-cr-00160-JAW, 2015 U.S. Dist. LEXIS

 59133, at *72 (D. Me. Apr. 27, 2015). These considerations are especially applicable

 in this case, where the Defendants filed their motion more than two years after the

 challenged voir dire.11

        First, although the parties have been intensely involved in the circumstances

 surrounding the January 8, 2014 voir dire, there is no indication that Juror 86 has

 given jury selection a moment’s thought since then. The Court is deeply concerned



 11       The Court is aware that Judge Hornby of this District ordered a new trial when it came to
 light after a guilty verdict that one of the jurors had made ethnic slurs during the trial against the
 Defendants. United States v. Fuentes, No. 2:12-cr-50-DBH, 2013 U.S. Dist. LEXIS 115459 (D. Me.
 Aug. 15, 2013). There are, however, several distinctions between Fuentes and this case. First, timing.
 The Fuentes jury returned a guilty verdict on March 18, 2013, and the juror misconduct issue came to
 the attention of the Judge on April 16, 2013, less than one month after the verdict. Id. at *2. Second,
 ethnic slurs. In United States v. Villar, 586 F.3d 76 (1st Cir. 2009), the First Circuit ruled that a
 district judge has the discretion to hold an inquiry into possible bias in jury deliberations where the
 claimed bias involved racial or ethnic prejudice. Id. at 87–88. The First Circuit has not formally
 extended Villar into other types of potential misconduct. But see United States v. Jones, 674 F.3d 88
 (1st Cir. 2012). Third, narrowness of the factual issue. In Fuentes, the Judge was confronted with a
 very narrow factual issue—either the juror made an ethnic slur during his service on a jury or he did
 not. Fuentes, 2013 U.S. Dist. LEXIS 115459, at *20–21. Fourth, jury empanelment. In Fuentes, the
 Judge concluded that despite the juror’s ethnic slur, the Judge concluded that the defendants had not
 proven that the juror was dishonest during voir dire. Id. at *17–19.

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 about the fairness of bringing Juror 86 into court, presenting her with her incomplete

 jury questionnaire, confronting her with the Magistrate Judge’s list of questions,

 pointing out her son’s prior convictions, and demanding that she explain why she did

 not inform the Court and the parties of her son’s experiences.

       Second, many individuals would find the contemplated hearing nerve-racking

 in the extreme. Having sat on a three-week trial, having acted as a member of the

 jury, having deliberated with other jurors, and having issued a verdict finding the

 Defendants guilty of numerous serious federal crimes, Juror 86 would find herself

 back in the same court over two years later, presided over by the same judge, looking

 at the same federal prosecutors, many of the same five defense lawyers, including as

 an addition, Attorney Leonard Sharon, her son’s former defense counsel, and the

 same Defendants. There is no telling how Juror 86 would respond to the prospect of

 such an inquisition, but many people would find the experience intimidating and

 confusing.

       Beyond fairness concerns, the Supreme Court has identified a number of policy

 considerations that caution against direct contact with jurors after a verdict. In

 Tanner v. United States, 483 U.S. 107 (1987), the Court refused to admit a juror’s

 testimony that other jurors used drugs and consumed alcohol during the trial. Id. at

 108. The Court recognized that a number of public interests weighed against hauling

 a juror before the Court following a verdict to testify about the jurors’ deliberations.

 Id. at 120–124. These interests include preventing harassment of former jurors by

 losing parties as well as the possible exploitation of disgruntled or otherwise badly-



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 motivated ex-jurors, id. at 124, preserving the community’s trust in a system that

 relies on the decisions of laypeople, id. at 121, and ensuring finality. Id. at 120.

       Although the Tanner Court identified these policy concerns in the context of

 protecting jury deliberations, these same factors weigh against this Court’s post-

 verdict contact with Juror 86. Opening the door to post-verdict contact with jurors

 would incentivize defeated parties or others upset with the verdict to harass jurors

 in an attempt to secure some evidence of “misconduct sufficient to set aside the

 verdict.” Id. at 120 (quoting McDonald v. Pless, 238 U.S. 264, 268).

       Moreover, the jury system is founded upon community trust. Citizens trust

 their peers to decide cases fairly and accurately based on the evidence and the law.

 However, disappointment in a jury verdict does not warrant criticism of the jurors

 who issued it. To insist on reexamining a verdict by retroactively questioning the

 qualifications and truthfulness of a juror erodes the foundations of public trust upon

 which the jury system relies.      Although “[t]here is little doubt that postverdict

 investigation into juror misconduct would in some instances lead to the invalidation

 of verdicts reached after irresponsible or improper juror behavior[,] [i]t is not at all

 clear…that the jury system could survive such efforts to perfect it.” Id. at 120.

       Perhaps most importantly, permitting post-verdict contact with jurors disrupts

 the finality of the verdict. Id. Finality concerns are particularly apparent where, as

 here, the “[p]assage of time [and] erosion of memory” threaten the accuracy of a juror’s

 testimony. See e.g. Engle v. Isaac 456 U.S. 107, 127–128; see also Tanner, 483 U.S.

 at 120 (“Allegations of juror misconduct…raised for the first time days, weeks, or



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 months after the verdict, seriously disrupt the finality of the process”). The Supreme

 Court recently discussed finality concerns in Dietz v. Bouldin, 136 S. Ct. 1885 (2016).

 In Dietz, the Court cautioned district courts against invoking their inherent power to

 recall a discharged jury. Id. at 1895. In part, the Court reasoned that a long delay

 between discharge and recall might lead jurors to forget key facts, and various

 external influences might taint the juror in the intervening period. Id. at 1893–94.

        The same considerations caution against recalling Juror 86 here. It is very

 difficult more than two years after the fact to recreate what happened at voir dire.

 At the very least, it would be important for Juror 86 to know exactly what the

 Magistrate Judge told the jury venire in an effort to refresh her memory. Even if the

 Court read the Magistrate Judge’s questions verbatim to Juror 86, numerous other

 considerations may make it difficult for Juror 86 to recreate her exact thinking. For

 example, her relationship with her son or her views toward marijuana may have

 changed in the intervening period, raising the possibility that she may now have

 different feelings about the Defendants’ conduct than she did at trial.12 Furthermore,

 unlike her state of knowledge at voir dire, Juror 86 sat through a three-week trial

 with countless witnesses and exhibits, including the testimony of two of the

 Defendants in which they denied committing the charged offenses. The evidence

 revealed a large-scale marijuana operation complete with illegal workers, who were




 12       To this point, just this November, (although perhaps subject to a recount), the voters of the
 state of Maine narrowly approved a referendum question, legalizing marijuana. The Maine vote was
 echoed in California, Massachusetts, and Nevada. These votes bring to twenty-eight the number of
 states plus the District of Colombia that have legalized marijuana. How these national and state
 developments since 2014 might affect Juror 86 is speculative.

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 spirited away from the grow site. Any new feelings about the case may color her

 ability to recreate her mental state at the time of voir dire.

         Finally, deliberately lying during voir dire is a crime. Colombo, 869 F.2d at

 151 (“Knowingly lying during the voir dire…subjected the juror to possible criminal

 contempt pursuant to 18 U.S.C. § 401”). Juror 86 would have the right to remain

 silent and the right to counsel. Even if she did not request counsel, the Court would

 likely act sua sponte and appoint counsel to represent her.

       In bringing Juror 86 back, there are three broad possibilities: she confirms the

 Defendants’ suspicions, she does not, or she expresses confusion and uncertainty

 about the entire matter. If, as Defendants propose, Juror 86 admitted that she

 deliberately lied about her son’s criminal involvement and consciously remained

 silent to the Magistrate Judge’s question when she knew she should not have done

 so, her newly-appointed lawyer would no doubt advise her to take the Fifth

 Amendment given her criminal exposure.             If she satisfactorily explained her

 questionnaire responses and her silence during voir dire, the result would be the

 same as the Court is ordering today.           If she looked bewildered, expressed

 embarrassment, and equivocated, the Court and the parties would be no better off,

 except the Defendants would not have sustained their Sampson burden.

       Anticipating the Court’s concern about Juror 86’s potential criminal exposure

 if she did what the Defendants claim she did, the Defendants assert in their reply

 that the Court or the Government could simply grant Juror 86 immunity. French

 Reply at 8. The Defendants cite no authority for the proposition that the Court—as



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 opposed to the Government—could grant immunity sua sponte in this case, and the

 Court is extremely doubtful of its authority to do so. See 18 U.S.C. § 6003; Dirosa v.

 United States, No. 2:11-CR-00193-GZS, 2015 WL 9596017, at *5 (D. Me. Dec. 3, 2015),

 report and recommendation adopted, No. 2:11-CR-00193-GZS, 2016 WL 50420 (D.

 Me. Jan. 4, 2016) (“[T]he power to grant immunity is vested in the prosecutor. The

 government has broad discretion in its grants of immunity. It is the [prerogative] of

 the Attorney General and his designees to determine whether a grant of immunity is

 “in the public interest[.]’”) (internal quotation marks omitted); United States v. Davis,

 623 F.2d 188, 193 (1st Cir. 1980) (the district court has no general power to grant

 immunity for a witness unless the defendant would be denied due process); In re

 Daley, 549 F.2d 469, 479 (7th Cir. 1997) (“Courts have clearly stated that the power

 to apply for immunity pursuant to 18 U.S.C. §§ 6002-03 rests solely with the

 Government, being confined to the United States Attorney and his superior officers”).

       Given all these concerns, it is unsurprising that the First Circuit strongly

 disfavors post-verdict contact with jurors. See United States v. Meader, 118 F.3d 876,

 878 (describing “First Circuit authority strongly disfavoring direct contact with

 jurors”); Bouret-Echevarria v. Caribbean Aviation Maint. Corp., 784 F.3d 37, 48 n.8

 (1st Cir. 2015) (quoting United States v. Kepreos, 759 F.2d 961, 967 (1st Cir. 1985))

 (noting that post-verdict contact with jurors is prohibited in the First Circuit

 generally).   The First Circuit has limited such post-trial juror contacts to

 “‘extraordinary situations.’” Dall v. Coffin, 970 F.2d 964, 972 (1st Cir. 1992) (quoting

 Kepreos, 759 F.2d at 967); see also United States v. Swan, No. 1:12-cr-00027-JAW-02,



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 2016 WL 4039393, 2013 U.S. Dist. LEXIS 110915 (D. Me. Aug. 7, 2013) (declining co-

 defendant’s request to interview jurors who participated in trial resulting in guilty

 verdict of co-defendant). For the reasons listed above, the Court does not believe that

 this is one such “extraordinary situation,” and thus the Court will not schedule an

 evidentiary hearing at which Juror 86 is called to testify.

       E.     Prejudice

       Finally, in Wilder v. United States, 806 F.3d 653 (1st Cir. 2015), a case that

 involved a defendant’s Fifth Amendment right to be present at voir dire, the First

 Circuit observed that the Defendant did not meet his burden to show actual prejudice

 as he had not demonstrated that “the outcome would have been different.” Id. at 659.

 Here, the Defendants similarly fail to meet their burden to show any actual prejudice.

 The Court previously reviewed the strength of the Government’s case against each of

 the Defendants. Order Den. Defs.’ Suppl. Mots. for New Trial at 55–69 (ECF No. 500).

 Given the strength of the Government’s case here, “it requires too much speculation

 to say that the outcome would have been different.” Wilder, 806 F.3d at 659.

       F.     Summary

       The Court ends by reiterating what it concluded in the Defendants’ earlier

 motion that attacked another juror. In McDonough, then Justice Rehnquist wrote:

       To invalidate the result of a 3-week trial because of a juror’s mistaken,
       though honest, response to a question, is to insist on something closer to
       perfection than our judicial system can be expected to give. A trial
       represents an important investment of private and social resources, and
       it ill serves the important end of finality to wipe the slate clean simply
       to recreate the peremptory challenge process because counsel lacked an
       item of information which objectively he should have obtained from a
       juror on voir dire examination.

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 464 U.S. at 555. To invalidate the result of the Defendants’ nearly three-week trial

 where they have failed to demonstrate that Juror Number 86 dishonestly answered

 any of the questions, both in the jury questionnaire and during voir dire, is “to insist

 on something closer to perfection than our judicial system can be expected to give.”

 Id.

 V.      CONCLUSION

         The Court DENIES Defendant’s Motion for New Trial Pursuant to F.R. Crim.

 P. 33 (ECF No. 674), including Defendants’ request for an evidentiary hearing.13,14

 The Court also DENIES Defendant Kendall Chase’s Motion to Join Defendant

 Malcolm French’s Motion for New Trial (ECF No. 678), Defendant Rodney Russell’s



 13       The Defendants filed their motion and reply under seal and the Government followed suit.
 The Court has substantial qualms about whether this order as drafted should be sealed. See United
 States v. Kravetz, 706 F.3d 47 (1st Cir. 2013). Similarly, the parties’ filings are subject to a
 presumption of disclosure since they are “relevant to the determination of the litigants’ substantive
 rights” under Kravetz. Id. at 58. Yet, the parties have filed documents that reveal the name of the
 juror and her son’s name. Consistent with Kepreos, 759 F.2d 961, the names of jurors should be
 protected from public disclosure. Accordingly, the Court orders counsel within seven days of the date
 of this order to notify the Court whether they object to the unsealing of this Order, and if so, the basis
 for their objection. Further, the Court orders counsel to file redacted copies of all pleadings and
 documents associated with this motion protecting the name of the juror and her son, but releasing the
 rest of the documents in accordance with Kravetz. The Court orders that the parties file such redacted
 documents within two weeks of the date of this order or such further time as may be necessary upon
 motion of the parties.
 14       In addition to requesting a hearing in their motion for new trial, on November 4, 2016, the
 Defendants moved a second time for a hearing and asked that it be scheduled “within the next month.”
 Mot. for Hr’g on Def.’s Pending Mot. for New Trial Pursuant to F.R. Crim. P. 33 (ECF No. 712). On
 November 7, 2016, the Government objected. Gov’t’s Resp. to Def. French’s Mot. for a Hr’g on his
 Pending Mot. for New Trial (ECF No. 713). As Mr. French had clearly requested a hearing in his
 original motion for new trial, the Court views the latest motion as evidence of Mr. French’s frustration
 with the Court’s delay in issuing an opinion or acting on the motion for hearing. The Court regrets
 the time it has taken to fully consider and rule on the motion for new trial. In its defense, the Court
 has been anxious to fully consider Defendants’ detailed motion, to thoroughly address the issues the
 Defendants have raised, and to adequately explain the reason for its rejection of the motion. To hold
 a hearing would in the Court’s opinion only cause further delay in the resolution of this case at the
 trial and appellate levels. The Court DENIES Defendant French’s Motion for Hearing on Defendant’s
 Pending Motion for New Trial Pursuant to F.R. Crim. P. 33 (ECF No. 712).

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 Motion to Join Defendant Malcolm French’s Motion for New Trial (ECF No. 682), and

 Defendant Haynes Timberland, Inc.’s Joinder in Defendant Malcom French’s Motion

 for New Trial (ECF No. 683).

       SO ORDERED.

                                      /s/ John A. Woodcock, Jr.
                                      JOHN A. WOODCOCK, JR.
                                      UNITED STATES DISTRICT JUDGE

 Dated this 16th day of November, 2016




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